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 1 II JOEL D. JOSEPH
      8677 Villa La Jolla Drive #320
2 II La Jolla, CA 92037                                       Jul 22 2019
      (310) 623-3872
3 II joeldjoseph@gmail.com
                                                                                   s/ aishahs

 4
                                 UNITED STATES DISTRICT COURT
 5
                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 6

 7
     JOEL D. JOSEPH,                              CASE NO:       '19CV1357 GPC MSB
 8
              Plaintiff,                          VERIFIED COMPLAINT FOR COPYRIGHT
 9                                                INFRINGEMENT
                    V.
10

11   INTERNET ARCHIVE

12          Defendant.

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15                                     L NATUREOFTHECASE
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            1. This is a complaint for copyright infringement. Plaintiff wrote a book titled,
17
     "Black Mondays: Worst Decisions of the Supreme Court," and registered it with the U.S.
18
     Copyright Office. The Internet Archive published the book online without authorization and
19
     has refused to pay any compensation to the plaintiff.
20
21
                                 II. JURISDICTION AND VENUE
22          2. This is a civil action seeking damages for copyright infringement under the
23   Copyright Act of the United States, 17 U.S.C. §101, et seq.
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            3. This Court has subject matter jurisdiction over this copyright infringement action
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     pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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            4. This Court has personal jurisdiction over Defendant since it is a California
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     corporation.
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                                                 1
                                             COMPLAINT
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            5. Venue is proper in this district pursuant to 28 U.S.C. §§ 139l(b) and
 2
     (c), and/or§ 1400(a).
 3
                                          III. THE PARTIES
 4

 5           6. Plaintiff is the author of the copyrighted work that is the subject of this case. He is a

 6   California resident and lives in San Diego County.

 7           7. Internet Archive is a California corporation.

 8                                    N. FACTUAL ALLEGATIONS
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             8. Plaintiff wrote a book entitled, "Black Mondays: Worst Decisions of the Supreme
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     Court" in 1987.
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             9. Plaintiff has written and had published four editions of this book.
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            10. Plaintiff filed for and received a copyright registration on the article from the United
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     States Copyright Office. A copy of the copyright registration is attached to this complaint as
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15   Exhibit A for the copyright of the Fourth Edition.

16          11. For more than ten years, the Internet Archive provided free internet access to the

17   general public to plaintiffs book, "Black Mondays: Worst Decisions of the Supreme Court" at

18   http://www.archive.org allowing anyone to acquire the book without charge.
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             12. Even though Internet Archive was given written notice of violating plaintiffs
20
     copyright, it continues to the present day to offer the book for free to the public for copying.
21
             13. Plaintiff asked defendant for compensation for publishing the book, but the defendant
22
     refused to pay anything to plaintiff.
23
            V. CAUSE OF ACTION FOR COPYRIGHT INFRINGEMENT
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25           14. Plaintiff incorporates by reference paragraphs one through 13, inclusive.

26           15. Defendant has violated plaintiffs copyright to the book Black Mondays online.

27           16. _Defendant's acts of infringement were willful, intentional and purposeful, in complete
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                                                       2
                                                COMPLAINT
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     disregard of and with indifference to plaintiffs rights.
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             17. Plaintiff is hereby seeking statutory damages in the amount of $150,000 per day, for
 3
     every day that the book was published online without plaintiffs consent, pursuant to 17 U.S.C. §
 4

 5   504(c), for every day that this infringement occurred.

 6           18.      Plaintiff further is entitled to his attorneys' fees and full costs pursuant to

 7   17 U.S.C. § 505 and otherwise according to law.

 8           WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 9
                      1.      For statutory damages in the ammmt of$150,000 per day for every
10
     day that the defemdamt continued to publish online and in print plaintiff's copyrighted article;
11
                      2.      For attorneys' fees and costs; and
12
                      3.      Such other relief as this court deems just and proper.
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     I affirm, under the penalties for perjury, that all factual allegations in this complaint are to the
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     best of my knowledge, accurate and truthful.
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                                                    COMPLAINT
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 2 II                                         Jury Demand

 3 I     Plaintiff demands a trial by jury.

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                                              COMPLAINT
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14 II
15   II
                               Exhibit A
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                                    COMPLAINT
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